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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,                                Case No. 1:25-cv-00716 (BAH)

                        Plaintiff,

 v.

 U.S. DEPARTMENT OF JUSTICE, et al.,

                        Defendants.




            UNOPPOSED MOTION OF THE LAWYERS’ COMMITTEE FOR
          CIVIL RIGHTS UNDER LAW FOR LEAVE TO FILE BRIEF AMICUS
      CURIAE IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
         Proposed amicus curiae The Lawyers’ Committee for Civil Rights Under Law (the

“Lawyers’ Committee”) respectfully moves this Court under Local Civil Rule 7(o) for leave to file

the attached amicus curiae brief in support of Plaintiff’s Motion for Summary Judgment and

Declaratory and Permanent Injunctive Relief. The parties do not oppose this motion.

         1.    This Court “has broad discretion to permit . . . participat[ion] [of] amici curiae,”

and amicus participation is appropriate where amici have “relevant expertise and a stated concern

for the issues at stake in [the] case.” Dist. of Columbia v. Potomac Elec. Power Co., 826 F. Supp.

2d 227, 237 (D.D.C. 2011). This Court has recognized that an amicus brief should “normally be

allowed when . . . the amicus has unique information or perspective that can help the court beyond

the help that the lawyers for the parties are able to provide.” Cobell v. Norton, 246 F. Supp. 2d 59,

62 (D.D.C. 2003) (citation omitted).

         2.    The Lawyers’ Committee is a national, nonpartisan, nonprofit organization that

combats racial discrimination and the resulting inequality of opportunity. The Lawyers’
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Committee advocates inside and outside the courts, to ensure that all people have voice,

opportunity, and power to make the promises of our democracy real. The Lawyers’ Committee is

a catalyst within the civil rights community, having been at the forefront of many significant civil

rights cases. See, e.g., NAACP v. Claiborne Hardware Co., 458 U.S. 886 (1982); McWaters v.

FEMA, 436 F. Supp. 2d 802 (E.D. La. June 16, 2006); Wash. Park Lead Comm., Inc. v. EPA, No.

98-cv-421, 1998 WL 1053712 (E.D. Va. Dec. 1, 1998). Each year, lawyers from across the country

partner with the Lawyers’ Committee to provide pro bono legal services for the protection of civil

rights.

          3.   Based on its decades of experience partnering with private law firms to engage in

pro bono litigation challenging government action, the Lawyers’ Committee offers unique insight

into the value of pro bono representations by private law firms.

          4.   While the Lawyers’ Committee is aligned with the Plaintiff’s position, its interests,

clients, and operations as a civil rights nonprofit are distinct from a private law firm. Given its

unique position and insight, the position of the Lawyers’ Committee “is not adequately represented

by a party.” D.D.C. LR 7(o)(2).

          5.   Because consideration of the public interest is material to the Plaintiff’s request for

permanent injunctive relief, the matters asserted in the proposed brief “are relevant to the

disposition of the case.” D.D.C. LR 7(o)(2). The Lawyers’ Committee’s brief focuses on the grave

harm to the beneficiaries of pro bono representation, who may not have access to counsel if firms

are chilled from representing certain clients or causes disfavored by the government. The very

communities the Lawyers’ Committee serves may therefore be harmed if the Executive Order is

upheld. As such, the Lawyers’ Committee’s brief is relevant to the disposition of the case.




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        6.      Plaintiff’s counsel and Defendants’ counsel have represented that they consent to

the filing of this amicus curiae brief.

        7.      Attached to this motion is a proposed order pursuant to Local Civil Rule 7(o)(2).



Dated: April 3, 2025                          Respectfully submitted,

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                                              /s/ Adria J. Bonillas
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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 3, 2025, I caused the foregoing Unopposed Motion of the

Lawyers’ Committee for Civil Rights Under Law for Leave to File Brief Amicus Curiae with the

Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing to

all registered CM/ECF participants.

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